                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )      Case No: 4:20 CR 00418 JAR
                                             )
JAMES TIMOTHY NORMAN,                        )
                                             )
               Defendant.                    )

 DEFENDANT NORMAN’S EMERGENCY MOTION TO CONTINUE SENTENCING
                AND FOR MISCELLANEOUS RELIEF

       Defendant, James Timothy Norman, by and through his undersigned counsel, respectfully

moves this Court to continue the sentencing hearing and for the miscellaneous relief requested

below, and states as follows:

       1. On March 1, 2023, at approximately 9:30 p.m., Mr. Norman’s counsel met in-person

            with Mr. Norman at the St. Genevieve County Jail to further prepare for his March 2

            sentencing hearing.

       2. During that meeting, Mr. Norman’s counsel learned for the first-time that information

            had been recently conveyed by co-defendant Waiel Yaghnam, through intermediaries,

            to Mr. Norman.

       3. More specifically, Mr. Yaghnam placed a phone call from the Fort Leavenworth

            Minimum Security Camp in Kansas to an individual in Saint Louis whom Mr.

            Yaghnam knew to have contact with Mr. Norman and his family. Mr. Yaghnam
           instructed that St. Louis based individual to communicate to those affiliated with Mr.

           Norman the circumstances underlying his “decision” not to testify at Mr. Norman’s

           trial.

       4. Mr. Yaghnam indicated that he was told by law enforcement associated with this case

           that, if he appeared to testify as a witness at Mr. Norman’s trial, the Government would

           ensure that he received a 10-year sentence of imprisonment. 1

       5. It was on that basis that Mr. Yaghnam refused to testify as a witness in Mr. Norman’s

           trial.

       6. Based upon this newly discovery evidence, Mr. Norman and his counsel should be

           afforded the time necessary to communicate with Mr. Yaghnam in order to further

           investigate and document these serious allegations.

       7. Indeed, if law enforcement associated with this case pressured Mr. Yaghnam to refrain

           from testifying at Mr. Norman’s trial and/or offered him an inducement to refuse to

           testify - and therefore corrupted Mr. Norman’s trial - then the charges against Mr.

           Yaghnam and Mr. Norman should be dismissed and/or other relief should be Ordered.

       8. If such an occurrence took place, it would be in direct violation of the ABA Criminal

           Justice Standards for the Prosecution Function (3-3.4), which provides in relevant

           part:

           (c) The prosecutor or the prosecutor’s agents should seek to interview all witnesses,
           and should not act to intimidate or unduly influence any witness; and

           (g) The prosecutor should advise a witness who is to be interviewed of his or her
           rights against self-incrimination and the right to independent counsel when the law so
           requires. Even if the law does not require it, a prosecutor should consider so advising

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  As this Court will recall, during opening statements, the Government hastily requested a side-bar
conference during which they objected to Mr. Norman’s counsel’s references to Mr. Yaghnam, and further
indicated that the Government might not call Mr. Yaghnam as a witness at trial. Mr. Yaghnam thereafter
was absent from his residence during Mr. Norman’s entire trial.
   a witness if the prosecutor reasonably believes the witness may provide self-
   incriminating information and the witness appears not to know his or her rights.
   However, a prosecutor should not so advise, or discuss or exaggerate the
   potential criminal liability of, a witness with a purpose, or in a manner likely, to
   intimidate the witness, to influence the truthfulness or completeness of the
   witness’s testimony, or to change the witness’s decision about whether to provide
   information.

Id. at 3-3.4 (emphasis added).

9. Such actions would also constitute a violation of the ABA’s ethical standards. See

   Rule 3.4 (“Fairness To Opposing Party And Counsel) (“A lawyer shall not: (b) falsify

   evidence, counsel or assist a witness to testify falsely, or offer an inducement to a

   witness that is prohibited by law.” (emphasis added); see also Comments to Rule

   3.4 (“The procedure of the adversary system contemplates that the evidence in a case

   is to be marshalled competitively by the contending parties. Fair competition in the

   adversary system is secured by prohibitions against destruction or concealment of

   evidence, improperly influencing witnesses, obstructive tactics in discovery

   procedure, and the like.”) (emphasis added).

10. Therefore, Mr. Norman and his counsel respectfully request a continuance of the

   sentencing hearing to allow this critical issue regarding the potential corruption of the

   trial to be fully investigated.

11. No party will be prejudiced by such a continuance because Mr. Norman has been in,

   and remains in, custody.

12. Certainly, the United States Attorney’s Office should have no objection to a full

   examination of the circumstances underlying Mr. Yaghnam’s failure to testify at trial.

   As this Court knows, that Office has an obligation to achieve justice and not simply

   obtain convictions – particularly potentially tainted ones. See ABA Criminal Justice
           Standards for the Prosecution Function, at 3-1.2(a) (“The prosecutor is an

           administrator of justice, a zealous advocate, and an officer of the court”).

       13. Additionally, Mr. Norman and his counsel request that all texts, email, instant

           messaging, and other communications - prior to and during Mr. Norman’s trial -

           between, on the one hand, the prosecution team including Detective Rudolph and any

           other member of law enforcement, and on the other hand, Mr. Yaghnam, be promptly

           produced.

       14. Mr. Norman and his counsel further request the production of Mr. Yaghnam’s BOP

           prison calls at Fort Leavenworth.

       15. Finally, Mr. Norman and his counsel request the production of documents reflecting

           calls placed to Mr. Yaghnam by any member of law enforcement, prior to and during

           Mr. Norman’s trial.

       WHEREFORE, Defendant, James Timothy Norman, by and through his undersigned

counsel, respectfully requests that this Honorable Court enter an Order granting him a continuance

of the sentencing hearing, and for the additional relief requested above.
Respectfully Submitted,

/s/Michael Leonard,
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ATTORNEYS FOR DEFENDANT
                                CERTIFICATE OF SERVICE

       I, Gloria Rodriguez, one of the attorneys for Defendant, hereby certify that I caused to be
served a true and accurate copy of the foregoing document on all parties of record by way of this
Court’s ECF filing system on March 1, 2023.


                              By:    /s/Gloria Rodriguez
                                     Gloria Rodriguez
